       Case 3:01-cr-00021-LC       Document 177       Filed 06/13/05    Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA,
          Plaintiff,

vs                                                       CASE NO: 3:01cr21-002

CHARLOTTE TROVILLO,
           Defendant.
__________________________________________________/

                          ORDER REDUCING SENTENCE
       Before the Court is the Government's Rule 35 Motion advising that a reduction in
defendant's sentence may be warranted by her cooperation and substantial assistance since
her sentencing. The Court finds that a reduction is proper to reward her cooperation and
significant assistance to the Government in the investigation and prosecution of others.
       Defendant's sentence of confinement is, therefore, reduced from 78 months to 55
months. In all other respects, the original sentence imposed on 23 October 2001 shall remain
unchanged.
       ORDERED this13th day of June 2005.



                                                         s /L.A. Collier
                                                       LACEY A. COLLIER
                                                   Senior United States District Judge
